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Attomey for Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

KATHERINE MAYORGA, an individual
2:19-cv-00168-JAD-CWH
Plaintiff,

vs.

CRISTIANO RONALDO, individually,
Does I-XX and Roe Corporations I-XX;

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)
)
Defendants. )
)

 

 

RECEIPT OF COPY
Receipt of the documents listed below is hereby acknowledged by the undersigned:
1. Plaintiff's Responses to Defendant’s Firs Set of Interrogatories to Plaintiff:
2. Plaintiffs Responses to Defendant Cristiano Ronaldo’s Requests for Admission;
3. Plaintiffs Responses to Defendant’s First Set of Requests for Production of
Documents to Plaintiff,
4. Plaintiffs Responses to Defendant’s Second Set of Requests for Production of
Documents to Plaintiff: and
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5. Plaintiffs Responses to Defendant’s Third Set of Requests for Production of

Documents to Plaintifé.

DATED this Wt) day of June 2021.

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Christiansen,

~ Works, Esq.

  
  

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